Case 2:18-bk-00685-PS   Doc 11-1 Filed 03/07/18 Entered 03/07/18 16:14:35   Desc
                           Exhibit (A) Note Page 1 of 4
Case 2:18-bk-00685-PS   Doc 11-1 Filed 03/07/18 Entered 03/07/18 16:14:35   Desc
                           Exhibit (A) Note Page 2 of 4
Case 2:18-bk-00685-PS   Doc 11-1 Filed 03/07/18 Entered 03/07/18 16:14:35   Desc
                           Exhibit (A) Note Page 3 of 4
Case 2:18-bk-00685-PS   Doc 11-1 Filed 03/07/18 Entered 03/07/18 16:14:35   Desc
                           Exhibit (A) Note Page 4 of 4
